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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10          CHARLES PHILIPPART,                               CASE NO. C18-1618 MJP

11                                 Plaintiff,                 ORDER ON MOTION FOR
                                                              ATTORNEY’S FEES
12                  v.

13          COMMISIONER OF SOCIAL
            SECURITY,
14
                                   Defendant.
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            This matter comes before the Court on Plaintiff’s Motion for Attorney Fees. (Dkt. No.
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     18.) Having reviewed the Motion, the Response (Dkt. No. 21), and all supporting materials, the
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     Court GRANTS the Motion.
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            The Court finds that fees are properly awarded under 42 U.S.C. § 406(b). Specifically,
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     the Court finds that the nature of the results achieved and the time spent justifies an award and
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     that the requested amount ($10,728.37) is reasonable. Additionally, counsel asks that the Court
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     deduct from the $10,728.37 those fees she has already received under the Equal Access to Justice
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     Act. The Motion states that counsel has received $2,990.48 (Dkt. No. 18), while counsel’s
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     ORDER ON MOTION FOR ATTORNEY’S FEES - 1
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 1   declaration and supporting materials state that she received $2,894.08 (Dkt. No. 19). The Court

 2   relies on the declaration of counsel and supporting materials, which show the amount received

 3   was $2,894.08, not the $2,990.48 reported in the Motion. (Compare Dkt. No. 18 with 19.)

 4   Applying this deduction, the Court AWARDS $7,834.29 in fees under 42 U.S.C. § 406(b). (Dkt.

 5   No. 19.) The Court notes that this award differs from the award requested in Motion—$4,940.95.

 6   (Dkt. No. 18 at 1.) The Court has not awarded this lower figure because it does not appear to

 7   derive from the supporting materials and it is not the sum derived from the subtraction of

 8   $2,894.08 from $10,728.37.

 9          In accordance with agency policy, if the Social Security Administration is still

10   withholding this amount, it is directed to send this amount to Plaintiff’s attorney, Amy

11   Gilbrough, minus any applicable fees ordered by statute. If the Commissioner has not withheld

12   past-due benefits sufficient to satisfy this order and Plaintiff’s attorney reports she is unable to

13   collect the fee from the claimant, the Commissioner will satisfy this order via the procedures in

14   the Program Operation Manual System (POMS) GN 03920.055C.

15          The clerk is ordered to provide copies of this order to all counsel.

16          Dated June 18, 2024.

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                                                            Marsha J. Pechman
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                                                            United States Senior District Judge
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     ORDER ON MOTION FOR ATTORNEY’S FEES - 2
